           Case 7:21-cv-02777-VB Document 4 Filed 04/02/21 Page 1 of 1
                                              Oster
                                             McBride
1320 19th Street, N.W., Suite 601                         2000 Duke Street, Suite 300
    Washington, DC, 20036                                    Alexandria, VA 22314

                                    Evgenia V. Sorokina
                                      Tel: 240.481.8946
                                      Fax: 703.747.5862
                            Email: esorokina@ostermcbride.com

                                        April 2, 2021

VIA CM/ECF

Honorable Vincent L. Briccetti
United States District Judge
United States District Court for the Southern District of New York
300 Quarropas Street, Room 630
White Plains NY 10601

              RE: Charon Coins, LLC v. Sonea Griffiths
                      Case No. 7:21-cv-2777

Honorable Judge Briccetti,

      I write to explain a temporary seal on certain exhibits to the complaint in the
above-captioned case.

       Shortly after electronically filing the original complaint and exhibits on March
30, 2021, we discovered that we had inadvertently filed the set of Exhibits A, B, C, E,
and F without redactions of personal and financial data. We immediately contacted the
office of the Clerk of the Court. To protect the documents, the clerk sealed those
exhibits and advised that we file redacted exhibits once a judge was assigned to this
case. Upon notice of Your Honor’s assignment, we filed an Amended Complaint with
properly redacted exhibits. Accordingly, Exhibits A, B, C, E, and F to the original
complaint should remain under seal. The exhibits to the First Amended Complaint
are properly redacted and need not be sealed. Thank you for your assistance in this
matter. We apologize for any inconvenience.
                                                  Respectfully submitted,
                                                  /s/
                                                  Evgenia V. Sorokina
                                                  N.Y. Bar No. 4607479
                                                  Counsel to Plaintiff Charon Coins, LLC


    Admitted in D.C. and N.Y. only
